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Jeffery J_. Carlson (SBN 60752)
Carlsonj cmtlaw.corn

 

 

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CA£L§@N & MESSER LLP _
5959 W. Century Boulevard, Suite 1214
Los An eles California 90045
310 2 2-2200 Telephone
310 242-2222 Facsimile
Attorneys for Defendant,
VITAL SCLUTIONS, lNC.
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
DANIEL AGUILAR, §§ § §§ 9 3 5 SM [/7/}§
Plaintiff, ’
Vs. NOTICE OF REMOVAL

VITAL soLUTIoNs, INC.- and
DoEs 1 to 20, INCLUSIVE,

Defendant.

 

DEFENDANT’S NOTICE OF REMOVAL

Defendant VITAL SOLUTIONS, INC. hereby files this notice of removal

under 28 U.S.C. §1446(21).
A. INTRODUCTION

1. Defendant is VITAL SOLUTIONS, INC. (“Defendant”); Plaintiff is
DANIEL AGUILAR (“Plaintifi”).

2. Upon information and belief, Plaintiff initially filed this case on April
08, 2013, in the Superior Court of California, County of Orange, Case No. 30~
2013-00642117-CL-NP-NJC. A true and correct copy of Plaintist original
Surnrnons and Cornplaint is attached hereto as Exhihit “A”.

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Notice of Removal
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CARLSON & MEssER LLP
5959 W. CENTLIRY EDULEVARD, SU|TE 1214

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3. On May 30, 2013, Defendant Was personally served with the Summons
and a copy of Plaintiff s Complaint.

4. As Defendant received Plaintift” s Complaint on May 30, 2013,
Defendant files this notice of removal Within the 30-day time period required by 28
U.S.C. §l446(b), and as extended via FRCP 6. See Wells v. Gateways Hosp. &
Mental Health Ctr., 1996 U.S. App. LEXIS 2287 at *2 (9th Cir. Cal. Jan. 30, 1966).

B. BASIS FOR REMOVAL

5. Removal is proper because Plaintiff’ s Complaint involves a federal
question. 28 U.S.C. §§133 1, 1441(b); Long v. Bancz'o Mfg. ofAm., Inc., 201 F.3d
754, 757-58 (6th Cir. 2000); Peters v. Union Pac. R.R., 80 F.3d 257, 260 (8th Cir.
1996). Specifically, Plaintiff has alleged claims that arise under 15 U.S.C. § 1692,
et seq. , for alleged violation of the F air Debt Collection Practices Act.

6. “Where it appears from the bill or statement of the plaintiff that the
right to relief depends upon the construction or application of the Constitution or
laws of the United States, and that such federal claim is not merely colorable, and
rests upon a reasonable foundation, the District Court has jurisdiction . .” Smith v.
Kansas Cily Tz`tle and Trust Co., 255 U.S. 180, 41 S. Ct. 243, 65 L. Ed. 577 (1921)
(Court upheld federal jurisdiction over the case because the state claim embraced a
federal question). A case may “arise under” federal law for purposes of 28 U.S.C. §
1331 even When a state cause of action is asserted, however, “Where the vindication
of a right under state law necessarily turns on some construction of federal laW.”
anchise Tax Ba’. of Cal. v. Constr. Laborers Vaccztz`on Trustfor Southern Cal.,
463 U.S. l, 27-28, 103 S. Ct. 2841, 77 L. Ed. 2d 420 (1983). The question then is
Whether plaintiff’ s “right to relief under state law requires resolution of a substantial
question of federal law in dispute.”

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7. Similarly, to bring a case within (arising-under jurisdiction), a right or
immunity created by the Constitution or laws of the United States must be an
element, and an essential one, of the plaintiff’s cause of action. The right or
immunity must be such that it will be supported if the Constitution or laws of the
United States are given one construction or effect, and defeated if they receive
another. Gully v. Fz`rst Nat’l Bank (U.S. 1936) 299 U.S. 109, 112, 112, 57 S. Ct. 96,
97.

8. Venue is proper in this district under 28 U.S.C. §1441(a) because this
district and division embrace the place where the removed action has been pending

9. Defendant will promptly file a copy of this notice of removal with the

clerk of the state court where the action has been pending

C. JURY DEMAND
10. Plaintiff demands a jury in the state court action. Defendant demands a
jury trial.
D. CONCLUSI()N
11. Defendant respectfully requests removal of this action as it involves a

Federal question under the F air Debt Collection Practices Act, 15 U.S.C. §1692.

DATED: June 24, 2013 CARLSON & l\/lE LLP

 

By
Jeffery J. Ca_rlson
J. Grace Felipe
Attorneys for Defendant,
VITAL SOLUTIONS, INC.

Notice of Removal
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EXHIBIT “A”

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including but not limited to. multiple calls par \.'ccl<. l)ct`cndant contacted Plaintitl` with such

 

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to liazass. annoy or abuse l’l;xinti:"l`(§ lé‘.!?.d($ }l;€mcl

 

‘n. Cnmmunic;iting with Plaintiff at times or _r)laccs‘. which Wct‘c known or

w should have been known to bc inconvenient l`ur l’lzt§ntll`f, (§ l()‘)lc(a)(l )}.
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14_ As a rcsult of lite above viclntitms nt` the l~`l)CPA and Rl"DCPA` Plaintiff
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sttl`l`crcd and continues tn cutler injury to Plain‘;il`t`s l`ct:lings. pcrsonal humiliation,
23 cmbm‘r;tssmcnt, mental anguish and emotional tiistress.. and Defendant as liable tn l’lztintil`l` l`or

""‘ _ Plaintil`l`s actual damagcs_ statutory dnmzzgcs, and costs ;snd attorneys l`cca.

 

 

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26 P`AIR D`F,RT C(}Ll,t<`.(.`.'¥`ION PRACTI(`.F,S .»KCT

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Case 8:13-Cv-00988-DOC-PLA Document 1 Filed 06/28/13 Page 10 of 15 Page |D #:10

36. '!`0 the extent that Dct`<:ndar‘.t`:; actiuns, counted abt.)\-o:‘ vicinth thc RI"DCP/\,

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those actions wch done knowingly and wilit'uliy.
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\l-’fll-','RZ~`.F()RE. Plaintiff rcs;~)cctfu!`ty prays that judgment bc entered against Dct"cndzmt

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§`m' thc ibt!owing:

 

 

 

 

 

 

 

     

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`: !¢ ii Stat=`tlorj,-' damages for wilH`u§ and negligent violations
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s) §l D 1~`or such other and f`urt!‘.ct' rcéicfns may I‘.~cjust and pz'opcr.
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n PR.AYF.R F()R RHLIEF
"‘ WHI:{R!~`,FORE. Plaint'zt`t` rcspcctfu¥ty prays that judgment bc catcer against Defendant
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terms fo=lowmg:
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17 B. St'atutory damagesz
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n Re.~.pcctt`utiy submitted this May P.l, 2013. ;-
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Case 8:1

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PROOF ()F SERVICE
STATE OF CALIFORNIA )
) ss.
COUNTY OF LOS ANGELES )

I am employed in the County of Los Angeles, State of California.

I am over the age of eighteen years and not a party to the within action. My business address

is 5959 W. Century Blvd., Suite 1214, Los Angeles, CA 90045.

On June 27, 2013,1 served the foregoing document(s) described as: CIVIL COVER .

SHEET and NOTICE OF FILING REMOVAL; on all interested parties in this action by placing
a true copy thereof enclosed in a sealed envelope addressed as follows:

[X]

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SEE ATTACHED SERVICE LIST

BY MAIL: I sealed such envelope(s) and placed it (them) for collection and mailing on this
date following the ordinary business practices of Carlson & Messer LLP. I am “readily
familiar” with the business practices of Carlson & Messer LLP for collection and processing of
correspondence for mailing with the United States Postal Service. Such correspondence would
be deposited with the United States Postal Service at LOS Angeles, California this same day in
the ordinary course of business with postage thereon fully prepaid.

ELECTRONIC MAIL: Based on Court order or an agreement ofthe parties to accept service
by e-mail or electronic transmission, I caused the said documents to be sent to the persons at the
electronic mail addresses listed below (see attached service list). I did not receive within a
reasonable time after the transmission, any electronic message or other indication that the
transmission was unsuccessiill.

PERSONAL SERVICE BY HAND: I personally served such document to address stated on
POS Service List.

BY FACSIMILE- I transmitted via telecopier machine such document to the offices of the
addressees

(STATE) - I declare under penalty of perjury under the laws of the State of California that the
above is true and correct.

(FEDERAL) - I declare that I am employed in the office of a member of the bar of this court
at whose direction the service was made.

Executed this 27th day of June, 2013, at Los Angeles, California.

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PROOF OF SERVICE

 

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1 SERVICE LIST
Aguilar, Daniel v. Vital Solutions, Inc.
File No.: 07552.00.00

Paul Mankin, IV Attorneys for Plaintiff,
LAW OFFICES OF PAUL MANKIN IV DANIEL AGUILAR
369 S. Doheny Drive, Suite 415

Beverly Hills, CA 90211

Phone: (877) 206-4741

Fax: (866) 633-0228

E-mail: pmankin@paulmankin.com

 

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PROOF OF SERVICE

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT GF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge David O. Carter and the assigned
discovery Magistrate Judge is Paul Abrams.

The case number on all documents filed with the Court should read as follows:

SACV13'- 988 DOC (PLAX)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions

A11 discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following |ocation:

Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location Wi|l result in your documents being returned to you.

 

CV-18 (03/06) NOTICE OF ASS|GNN|ENT TO UN|TED STATES MAG|STRATE JUDGE FOR DlSCOVERY

Case 8:13-cv-00988-DOC-PLA Document 1 Filed 06/28/13 Page 14 of 15 Page |D #:14

UNlTED STATES DiSTRlCT COURT, CENTRAL DISTRICT OF CAL|FORN!A

C|VlL COVER SHEET

 

l. (a) PLAlNT|FFS ( Check box ifyou are representing yourself m )

DANlEL AGU|LAR

DEFENDANTS

( Cl'ieck box if you are representing yourself §:] )

VlTAL SOLUT|ONS, |NC.

 

(b) Attorneys (Firm Name, Address and Telephone Number. |f you

are representing yourself, provide same.)

Paul Mankin, lV (SBN 264038)

 

(b) Attorneys (Firm Name, Address and Te|ephone Number. if you
are representing yourself, provide same.)
Jeffery J. Car|son (SBN 60752) ~ J. Grace Felipe (SBN 190893)

 

 

 

LAW OFF!CES OF PAUL MANK|N, lV CARLSON & MESSER LLP
369 S. Dohey Drive, Suite 415 5959 W. Century Blvd., Suite 1214
Bever|y Hiii$, CA 90211 Tel: (877) 206-4741 LOS Angeie$, CA Tel: (310) 242-2200
ll. BAS|S OF JUR|SD|CT|ON (P|ace an X in One box only_) lll. ClTlZEN$HlP OF PR|NC|PAL PART!ES- For Diversity Cases Oniy
(Place an X' in one box for plaintiff and one for defendant)
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1. U.S. Governmenr 3. Federal Quesnon (u.S. szen ofThl-S grate m 1 m 1 incorporated Or Frir\€ipal Place m 4 m 4
Plaintiff Govemment Not a Party) _ 4 °fBuSme$S m th'$ State
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2 U 5 Governmem . . . . . . . . . of Business in Another State
1:| ' ' ' 4. Diversity (lndicate Citizenship Citizen orSubject ofa _ _
Defendant Of Pames m item m) Foreign Country {:1 3 1:] 3 Foreign Natlon E:| 6 1:| 6
lV. OR|GIN (Place an X in one box only.) S'Tl_ans_f€"ed l"?'“ A"°‘he’ 6~ N!Ult,l'
. . , District (Specify) District
§ 1. Orlgtna| 2. Removed from m 3. Remanded from E:l 4. Reinstated or Utigation
Proceeding State Court Appel|ate Court Reopened

 

V. REQUESTED lN COMPLA|NT: JURY DEMAN D:
CLASS ACT|ON under F.R.CV.P. 23:

-Yes §§

EYes No

|\lo

f:i MONEY DEMANDED lN COMPLA|NT:$

(Check "Yes" only if demanded in complaint.)

$10,000.00

 

Vl. CAUSE OF ACT|ON (Cite the U.S. Civi| Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Falr Debt Collection Practices Act (15 U.S.C. Sectlons 1692, et seq.)
Rosenthal Fair Debt Collectin Practices Act (Cal Civil Code Sections 1788, et seq)

 

Vll. NATURE OF SU|T (Place an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

OTHER STATUTES CONTRACT REAL PROPERTY CONT. l|‘VlMlGRATlON PRKSONER PETIT!ONS PROPERTY RlGHTS
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FOR OFFlCE USE ONLY: Case Num|oer:

  
 

 

 

 

 

 

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AFTER COMPLETlNG PAGE 1 OF FORl\/\ CV 71,COl\/1PLE1ETHE lNFORl\/lATlON REQUESTED ON PAGE 2

 

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C|Vll_ COVER SHEET

Page 1 of2

 

 

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UNlTED STATES DlSTRlCT COURT, CENTRAL DlSTRlCT OF CALlFORNlA

 

ClVlL COVER SHEET
Vill(a). lDENTlCAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? NO [:l YES
lf yes, list case number(s):
Vlll(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present Case? NO [:] YES

if yes. list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check an boxes that apply) l:] A. Arise from the same or closely related transactions, happenings, or events; or

m B. Call for determination of the same or substantially related or similar questions of law and fact; or
l:] C. For other reasons would entail substantial duplication of labor if heard by differentjudges; or

f:] D. |nvolve the same patent, trademark or copyright and one of the factors identi€ed above in a, b or c also is present.

 

lX. VENUEZ (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; California County outside of this District,' State if other than California; or Foreign Country, in which EACH named
plaintiff resides.

[] Check here if the government, its agencies or employees is a named plaintiff lfthis box is checked, go to item (b).

 

Ca|ifornia County outside of this District; State, if other than California; or Foreign

- - - ~ .a¢-
County m this District. Counrry

 

Orange County, California

 

 

(b) List the County in this District; Ca|ifornia County outside of this District; State if other than California; or Foreign Country, in which EACH named
defendant resides.
m Check here ifthe government, its agencies or employees is a named defendant lfthis box is checked, go to item (c).

_ v C . . . . . . ; '. . . ; .
County in this Dlstnch* C:l`ilfr<!)trrr\i/ia County outside of this District State if otherthan California or Foreign

 

 

Gwinnet County, Georgia

 

(C) List the County in this District; Ca|ifornia County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
NOTE: ln land condemnation cases, use the location of the tract of land involved.

. . . . 'f ' 'd ` ' '; ,`f th th 'ornia; rFoei n
C°untymthls Dlsmct* §;lijr<])trrr;,ia Countyoutsi eofthis District State i o er an Calif 0 r g

 

 

 

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*Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties

Note: |n land condemnation cases, use the location of the tract of land involved f\

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x. siGNATunE oi= ATTORNEY ron sELF-REPRESENTED LiTiGAi\iTi: ‘-i ih§(\ DATE: JU"€ 28' wl 3
Noiice to Counsel/Parties:The CV~71 (JS-44) Civil Cover Sheet and the infor¥§}t{@] contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law. This form, approved by the Judicial Confere e of the United States in September1974, is required pursuant to Loca| Ru|e 3-1 is'not filed
but is used by the C|erk of the Court for the purpose of statistics venue and initiating the civil docket sheet. (For more detailed instructions see separate instructions sheet).

 

 

Key to Statistica| codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action
All claims for health insurance benefits (Medicare) underTitle 18, Part A, ofthe Social Security Act, as amended. Also,
361 HlA include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))
862 Bl_ All claims for "B|ack Lung" benefits under Tit|e 4, Part B, of the Federal Coa| lVlirie Health and Safety Act of 1969. (30 U.S.C.
923)
WC All claims Eled by insured workers for disability insurance benefits under Tit|e 2 ofthe Social Security Act, as amended; plus
863 DI all claims med for child's insurance benefits based on disability. (42 U.S.C. 405 (g))
863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))
All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
864 SSID
amended
865 R$| All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended

(42 u.s.c. 405 (gii

 

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